The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document has been entered electronically in
the record of the United States Bankruptcy Court for the Northern District of Ohio.




               Dated: September 20 2023




                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF OHIO

 In Re: Melvin O. Ott                                   *      Case No. 23-31661 W
        Rebecca A. Ott
                                                        *      Judge Mary Ann Whipple

 Debtors                                                *      Chapter 13

                                                      ORDER

        On motion of the Trustee good cause being shown, and it appearing from the Debtors'
schedules that the Debtors have an interest in and to certain real estate known as:


                                      424 Pearl St., Sandusky, OH 44870


which is subject to the jurisdiction of this Court, it is,


        ORDERED that Melvin O. Ott and Rebecca A. Ott be, and they hereby are enjoined from
encumbering, selling, transferring, or otherwise disposing of their interest therein without first obtaining
leave of this Court.




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